                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF PENNSYLVANIA
                              FEDERAL BUILDING & COURTHOUSE
                               228 WALNUT STREET, P.O. BOX 847
                                  HARRISBURG, PA 17108-0847
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                                       OFFICIAL BUSINESS
CHRISTOPHER C. CONNER                                                          TEL (717) 221-3945
    CHIEF JUDGE                                                                FAX (717) 221-3949

                                          April 11, 2019

J. Christian Adams, Esquire                                Linda Ann Kerns, Esquire
Noel H. Johnson, Esquire                                   1420 Locust Street
32 E. Washington Street, Suite 1675                        Suite 200
Indianapolis, IN 46204                                     Philadelphia, PA 19102

      Re:     The Public Interest Legal Foundation v. Kathy Boockvar, Jonathan M. Marks,
              Bureau of Commission, Elections and Legislation
              Civil Action No. 1:19-CV-622

      The referenced action has been assigned to me. If service of the initial pleading is not
made within the time allotted by the rules of procedure, a status report shall be submitted to the
court addressing the reasons for the delay and the course of action being taken.

       Once joinder of this matter has been accomplished, the court will issue an order setting a
time and date for a mandatory conference between counsel for all parties and the court. Such a
conference is mandated by Rule 16 of the Federal Rules of Civil Procedure. The purpose of this
conference is to establish deadlines for the management of this case. The order scheduling the
conference will inform the parties in more detail of their responsibilities in preparation for this
conference. Accordingly, it is essential that the answer (or other responsive pleading/motion)
be filed in the time provided for in the Federal Rules of Civil Procedure. To this end, counsel,
as well as pro se litigants, are admonished not to enter into agreements for extensions of time
without also seeking court approval. The court will not honor such agreements standing alone.

      The parties are advised to comply fully with Rule 26 and other provisions of the Federal
Rules of Civil Procedure. Counsel shall not cease active discovery efforts pending disposition of
a motion to dismiss.

     Any inquiries you have concerning this case and its progress should be directed to
Kimberly McKinney, Deputy Clerk of Court, P.O. Box 983, Federal Building, Harrisburg,
Pennsylvania, telephone number (717) 221-3941.

                                           Sincerely,

                                            S/ Christopher C. Conner
                                           CHRISTOPHER C. CONNER, Chief Judge
                                           United States District Court
cc:    Clerk of Court
